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                          EXHIBIT A
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                                                         SUMMONS

Attorney(s) Matthew D. Miller, Esg.
                                                                                  Superior Court of
Office Address 1101 King_s Hwy N. Ste 402
Town, State, Zip Code Cherry Hill NJ 08034
                                                                                    New Jersey
                                                                                  Mercer             County
Telephone Number 856-685-7420                                                     LAW                Division
Attorney(s) for Plaintiff Swartz Swidler LLC                               Docket No:
Diane Vaccaro, on behalf of herself and
those similarly situated
           Plaintiff(s)
                                                                                    CIVIL ACTION
    `'S.                                                                                SUMMONS ,
Amazon.com.dedc, LLC


           Defendant(s)

From The State of New Jersey To The Defendant(s) Named Above:

      The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New Jersey. The complaint attached
to this summons states the basis for this lawsuit. If you dispute this complaint, you or your attorney must file a written
answer or motion and proof of service with the deputy clerk of the Superior Court in the county listed above within 35 days
from the date you received this summons, not counting the date you received it. (A directory of the addresses of each deputy
clerk of the Superior Court is available in the Civil Division Management Office in the county listed above and online at
http:/huww.n'cot urts.gov/forms/10153 deptyclerklawref.pdf.) If the complaint is one in foreclosure, then you must file your
written answer or motion and proof of service with the Clerk of the Superior Court, Hughes Justice Complex,
P.O. Box 971, Trenton, NJ 08625-0971. A filing fee payable to the Treasurer, State of New Jersey and a completed Case
Information Statement (available from the deputy clerk of the Superior Court) must accompany your answer or motion when
it is filed. You must also send a copy of your answer or motion to plaintiffs attorney whose name and address appear above,
or to plaintiff, if no attorney is named above. A telephone call will not protect your rights; you must file and serve a written
answer or motion (with fee of $175.00 and completed Case Information Statement) if you want the court to hear your
defense.

     If you do not file and serve a written answer or motion within 35 days, the court may enter a judgment against you for
the relief plaintiff demands, plus interest and costs of suit. If judgment is entered against you, the Sheriff may seize your
money, wages or property to pay all or part of the judgment.

     If you cannot afford an attorney, you may call the Legal Services office in the county where you live or the Legal
Services ofNew Jersey Statewide Hotline at 1-888-LSNJ-LAW (1-888-576-5529). Ifyou do not have an attorney and are
not eligible for free legal assistance, you may obtain a referral to an attorney by calling one of the Lawyer Referral Services.
A directory with contact information for local Legal Services Offices and Lawyer Referral Services is available in the Civil
Division Management Office in the county listed above and online at
http://www.iiicourts.i.zov/forms/I0153 deptyclerklawrpflpff,


                                                                          Clerk of the Superior Court

DATED: 05/11/2018
Name of Defendant to Be Served: Amazon.com.dedc, LLC
 Address of Defendant to Be Served: 50 New Canon Way, Robbinsville, NJ 08691



 Revised 11/17/2014, CN 10792-English (Appendix XII-A)
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 Matthew D. Miller, Esq.
 Justin L. Swidler, Esq.
 Richard S. Swartz, Esq.
 SWARTZ SWIDLER, LLC
 1 101 Kings Highway N., Ste. 402
 Cherry Hill, NJ 08034
 Phone:856-685-7420
 Fax:856-685-7417
 Email: mmiller(cr,lswartz-1e~4al.com

 DIANE VACCARO, on behalf of herself and
 those similarly situated,
 4 Bradford Avenue, Apt. 6                         SUPERIOR COURT OF NEW JERSEY
 Trenton, NJ 08610                                 MERCER COUNTY

                Plaintiff,                         CLASS ACTION
        0
                                                   No: MER-L-001037-18
 AMAZON.COM.DEDC, LLC
 50 New Canon Way                                  FIRST AMENDED COMPLAINT AND
 Robbinsville, NJ 08691                            JURY TRIAL DEMAND

                 Defendant.


           FIRST AMENDED INDIVIDUAL AND CLASS ACTION COMPLAINT

         Named Plaintiff Diane Vaccaro (hereinafter referred to as "Named Plaintiff'), on behalf

 of herself and those similarly situated, by and through undersigned counsel, hereby complains as

 follows against Defendant Amazon.com.dedc, LLC (hereinafter referred to as "Defendant")

                                        INTRODUCTION

         1.      Named Plaintiff has initiated the instant action to redress Defendant's violations

 of the New Jersey Wage and Hour Law ("NJWHL"). Named Plaintiff asserts that Defendant

 failed to pay her and other similarly situated individuals at least one and one-half times their

 regular rates for all hours worked over 40 hours in a workweek due to Defendant's policy of not

  including time spent in security screenings and on meal breaks as hours worked. As a result of
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 Defendant's unlawful actions, Named Plaintiff and those similarly situated have suffered

 damages.

                                             PARTIES

        2.      The foregoing paragraphs are incorporated herein as if set forth in full.

        3.      Named Plaintiff is an adult individual with an address as set forth above.

        4.      Defendant is a company operating in New Jersey.

        5.      At all times relevant herein, Defendant acted by and through its agents, servants,

 and employees, each of whom acted at all times relevant herein in the course and scope of their

 employment with and for Defendant.

                               CLASS ACTION ALLEGATIONS

        6.      The foregoing paragraphs are incorporated herein as if set forth in their entirety.

        7.      Pursuant to Rule 4:32 of the New Jersey Rules of Civil Procedure and/or N.J.S.A

 34:11-56a25, Named Plaintiff brings her claims for relief to redress Defendant's violations of the

 New Jersey Wage and Hour Law on behalf of herself and those similarly situated.

        8.      Specifically, Named Plaintiff seeks to represent a class of all persons presently

 and formerly employed by Defendant as warehouse workers who worked in New Jersey and

 were subject to the wage and hour policies of Defendant, as discussed infra, at any point during

 the time period from two (2) years preceding the date the instant action was initiated through the

 present (hereinafter members of this putative class are referred to as "Class Plaintiffs").

         9.     Named Plaintiff is similarly situated to Class Plaintiffs in that she, like Class

 Plaintiffs, was/is an hourly employee of Defendant and was subjected to the wage and hour

 policies discussed infra.

         10.     The class is so numerous that the joinder of all class members is impracticable.

 Named Plaintiff does not know the exact size of the class, as such information is in the exclusive


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 control of Defendant; however, on information and belief, the number of potential class members

 is over 100 individuals.

        11.     Named Plaintiff's claims are typical of the claims of the Class Plaintiffs, because

 Named Plaintiff, like all Class Plaintiffs, worked for Defendant in New Jersey within the last two

 (2) years and was subject to the same wage and hour policies described herein.

         12.    Named Plaintiff will fairly and adequately protect the interests of the Class

 Plaintiffs, because Named Plaintiff 5 interests are coincident with and not antagonistic to those of

 the class. Named Plaintiff has retained counsel with substantial experience in the prosecution of

 claims involving employee wage disputes.

         13.    No difficulties are likely to be encountered in the management of this class action

 that would preclude its maintenance as a class action. The class will be easily identifiable from

 Defendant's records. .

         14.    A class action is superior to other available methods for the fair and efficient

 adjudication of this controversy. Such treatment will allow all similarly situated individuals to

 prosecute their common claims in a single forum simultaneously. Prosecution of separate

 actions by individual members of the putative class would create the risk of inconsistent or

 varying adjud,ications with respect to individual members of the class that would establis.h

 incompatible standards of conduct for Defendant. Furthermore, the amount at stake for

 individual putative class members may not be great enough to enable all the individual putative

 class members to maintain separate actions against Defendant.

         15.     Questions of law and fact that are common to the members of the class

  predominate over questions that affect only individual members of the class. Among the

  questions of law and fact that are common to the class are: 1) whether Defendant's failure to pay




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 Named Plaintiff and Class Plaintiffs overtime wages for the time spent in mandatory security

 screenings at the beginning and end of their shifts violated the NJWHL, 2) whether Named

 Plaintiff and Class Plaintiffs were free to engage in their own pursuits during unpaid meal

 breaks, and 3) whether Defendant's failure to pay Named Plaintiff and Class Plaintiffs overtime

 wages for the time spent on meal breaks violated the NJWHL.

                                   FACTUAL BACKC:ROUND

           16.   The foregoing paragraphs are incorporated herein as if set forth in full.

           17.   Beginning on or around June 19, 2017, Named Plaintiff gained employment with

 Defendant as a warehouse worker.

           18.   Named Plaintiff earns $13.50 per hour.

           19.   Named Plaintiff regularly works at least 40 hours in a workweek according to

 Defendant's determination of her hours worked (i.e. excluding the unpaid hours worked at-

 issue).

           20.   Defendant classified Named Plaintiff as a non-exempt employee under the

 NJWHL.

           21.   Named Plaintiff did,. not have the authority to hire and/or fire, make

 recommendations as to the change of employment status of other employees, nor direct the work

 of any other employees.

           22.   Named Plaintiff further did not perform primary duties related to the performance

 of office or non-manual work directly related to the management or general business operations

 of Defendant nor did Named Plaintiff have discretion and independent judgment with respect to

 matters of significance in the exercise of her primary duties.

           23.   Accordingly, Named Plaintiff is a non-exempt employee under the NJWHL.




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           24.    Class Plaintiffs worked/work for Defendant as warehouse workers.

           25.    Class Plaintiffs earned/earn an hourly wage.

           26.    Class Plaintiffs regularly worked/work at least 40 hours in a workweek according

 to Defendant's determination of their hours worked (i.e. excluding the unpaid hours worked at-

 issue).

           27.    Defendant classified/classify Class Plaintiffs as non-exempt employees under

 NJWHL.

           28.    Defendant did/does not consider Class Plaintiffs as "supervisors" as Class

 Plaintiffs did not have the authority to hire and/or fire, make recommendations as to the change

 of employment status of other employees, nor direct the work of any other employees.

            29.   Class Plaintiffs further did/do not perform primary duties related to the

 performance of office or non-manual work directly related to the management or general

 business operations of Defendant nor did/do Class Plaintiffs have discretion and independent

 judgment with respect to matters of significance in the exercise of their primary duties.

          , 30.   Accordingly, Class Plaintiffs were/are non-exempt employees under the NJWHL.
  ..J.J

                  Failure to Pay Overtime for Time Spent in Security Screenings

            31.   The foregoing paragraphs are incorporated herein as if set forth in full.

            32.   At the end of each workday, Defendant required/requires Named Plaintiff. and

 Class Plaintiffs (hereinafter collectively referred to as "Plaintiffs") to submit to a security

 screentng.

            33.   Specifically, Plaintiffs must wait among hundreds of other warehouse employees

 to pass through security after clocking out at the end of each shift.




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        34.     The security screening includes but is not limited to walking through a metal

 detector and placing personal items on a conveyer belt to be scanned via x-ray.

        35.     If Defendant determines that Plaintiffs require additional scrutiny, Plaintiffs must

 submit to a mandatory "secondary screening," which involves reporting to the secondary

 screening area so that a security guard can search them.

         36.    As Plaintiffs went/go through the security screenings off-the-clock, Defendant

 did/does not compensate Plaintiffs for the time it took/takes Plaintiffs to go through the security

 screening.

         37.     As Plaintiffs regularly worked/work at least 40 hours each workweek, excluding

 the time spent in security screenings, Defendant's failure to pay them for the additional time

 spent in the screenings resulted in Defendant paying Plaintiffs less than at least one and one-half

 times their regular rate for all hours worked over 40 hours in a workweek.

                     Failure to Pay Overtime for Time Spent on Meal Breaks

         38.     The foregoing paragraphs are incorporated herein as if set forth in full.

         39.     Defendant required/requires Plaintiffs to take a 30-minute unpaid meal break each

 workday.

         40.     Defendant required/requires Plaintiffs to clock out at the beginning of their meal

 breaks and clock in at the end of their meal breaks.

         41.     To leave Defendant's premises during a meal break, Defendant required/requires

 Plaintiffs to go through the same security screening process as they do at the end of their shifts.

         42.     Due to the mandatory security screenings, the vastness of Defendant's parking

  lots, and the remoteness of Defendant's facilities, Plaintiffs were/are unable to leave their places

 of work and engage in their own pursuits during meal breaks.




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        43.      Accordingly, the time Plaintiffs spent/spend on meal breaks is compensable work

 time under the NJWHL.

        44.       As a result of Defendant's aforesaid illegal actions, Named Plaintiff and Class

 Plaintiffs have suffered damages as set forth herein.



                                            COUNTI
                  Violations of the New Jersey Wage and Hour Law ("NJWHL")
                         (Named Plaintiff and Class Plaintiffs v. Defendant)
              (Failure to Pay Overtime Wages for Time Spent in Security Screenings)

        45.       The foregoing paragraphs are incorporated herein as if set forth in full.

        46.       At all times relevant herein, Defendant stand/stood in an Employer/Employee

 relationship with Named Plaintiff and Class Plaintiffs under the NJWHL.

         47.      At all times relevant herein, Defendant is/was responsible for paying wages to

 Named Plaintiff and Class Plaintiffs.

         48.      Pursuant to the NJWHL, all the time an employee is required to be at his or her

 place of work shall be counted as hours worked.

         49.      Defendant violated the NJWHL by failing to include the time Named Plaintiff and

 Class Plaintiffs spent/spend in security screenings as hours worked for the purpose of paying

 overtime wages.

         50.      As a result of Defendant's conduct, Named Plaintiff and Class Plaintiffs have

 suffered damages as set forth herein.

                                            COUNT II
                  Violations of the New Jersey Wage and Hour Law ("NJWHL")
                        (Named Plaintiff and Class Plaintiffs v. Defendant)
                 (Failure to Pay Overtime Wages for Time Spent on Meal Breaks)

         51.      The foregoing paragraphs are incorporated herein as if set forth in full.




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         52.        Defendant violated the NJWHL by failing to include the time the time Named

 Plaintiff and Class Plaintiffs spent/spend on meal breaks as hours worked for the purpose of

 paying overtime wages.

         53.        As a result of Defendant's conduct, Named Plaintiff and Class Plaintiffs have

 suffered damages as set forth herein.

         WHEREFORE, Named Plaintiff and Class Plaintiffs pray that this Court enter an Order

  providing that:

         (1)        Defendant is to be prohibited from continuing to maintain its illegal policy,

  practice or customs in violation of the New Jersey Wage and Hour Law;

         (2)        Defendant is to compensate, reimburse, and make Named Plaintiff and Class

  Plaintiffs whole for any and all pay they would have received had it not been for Defendant's

  illegal actions, including but not limited to past lost earnings;

         (3)        Named Plaintiff and Class Plaintiffs are to be awarded the costs and expenses of

  this action and reasonable legal fees as provided by applicable federal and state law;

          (4)       Named Plaintiff and Class Plaintiffs are to be awarded all other relief this Court

  deems just and proper.

                                                          Respectfully Submitted,

                                                         /s/ Matthew Miller
                                                         Matthew D. Miller, Esq.
                                                         Justin L. Swidler, Esq.
                                                         Richard S. Swartz, Esq.
                                                         SWARTZ SWIDLER, LLC
                                                         1101 Kings Highway N., Ste. 402
                                                         Cherry HiII,.NJ 08034
                                                          Phone: (856) 685-7420
                                                          Fax: (856) 685-7417
  Date: June 4, 2018



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                                DEMAND TO PRESERVE EVIDENCE

         Defendant is hereby directed to preserve all physical and electronic information

  pertaining in any way to Named Plaintiff's and Class Plaintiffs' employment, to Named

  Plaintiff's and Class Plaintiffs' cause of action and/or prayers for relief, and to any defenses to

  same, including, but not limited to, electronic data storage, closed circuit TV footage, digital

  images, computer images, cache memory, searchable data, emails, spread sheets, employment

  files, memos, text messages, any and all online social or work related websites, entries on social

  networking sites (including, but not limited to, Facebook, Twitter, MySpace, etc.), and any other

  information and/or data and/or things and/or documents which may be relevant to any claim or

  defense in this litigation.

          By way of example, but not limitation, Defendant is directed to preserve all video

  showing Named Plaintiff and/or Class Plaintiffs clocking out and passing through security

  screenings.




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                                         JURY DEMAND

         Named,Plaintiff hereby demands a trial by jury.

                                                        Respectfully Submitted,

                                                        /s/ Matthew Miller
                                                        Matthew D. Miller, Esq.



                                  RULE 4:5-1 CERTIFICATION

         I am licensed to practice law in New Jersey, and I am responsible for the above captioned

  matter. I am aware of no other matter currently filed or pending in any court in any jurisdiction

  which may affect the parties or matters described herein.

                                                        Respectfully Submitted,

                                                        /s/Matthew Miller
                                                        Matthew D. Miller, Esq.



                              DESIGNATION OF TRIAL COUNSEL

         Matthew D. Miller, Esquire, of the law firm of Swartz Swidler, LLC, is hereby

  designated trial counsel.

                                                        Respectfully Submitted,

                                                        /s/ Matthew Miller
                                                        Matthew D. Miller, Esq.




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    DIANE VACCARO, et al
                                                   SUPERIOR COURT OF NEW JERSEY
                   Plaintiffs,                     MERCER COUNTY
           V.
                                                   CLASS ACTION
    AMAZON.COM.DEDC, LLC
                                                   No: MER-L-001037-18

                   Defendant.



          PLAINTIFF'S FIRST SET OF INTERROGATORIES DIRECTED TO
                                 DEFENDANT

           Named Plaintiff Diane Vaccaro (hereinafter "Named Plaintiff'), by and through

    their undersigned counsel, hereby demands that Defendant Amazon.com.dedc, LLC

    (hereinafter "Defendant") answer the following Interrogatories within the time period

    prescribed by the rules of procedure applicable in this action.


                                                          Respectfully Submitted,


                                                          /s/ Matthew D. Miller
                                                          Matthew D. Miller, Esq.
                                                          SWARTZ SWIDLER, LLC
                                                          1 101 Kings Highway N., Suite 402
                                                          Cherry Hill, NJ 08034
                                                          Phone: (856) 685-7420
                                                          Fax: (856) 685-7417
     Date: June 12, 2018
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                                        INSTRUCTIONS

           In responding to these Interrogatories, the following instructions shall apply:

                  I.   Each Interrogatory must be answered separately, fully, in writing, and

    under oath.

                  2.   These Interrogatories are deemed to be continuing, requiring

    Defendant to provide verified supplemental answers setting forth any additional

    information within the scope of these interrogatories as may be acquired by Defendant,

    its agents and attorneys. Such supplemental responses shall be served upon the

    undersigned counsel for Plaintiff within thirty (30) days after receipt of such information,

    but in no event later than the discovery cut-off date.

                  3.   In lieu of identifying particular documents or communications, such

    documents or communications may, at your option, be attached to your answer to those

    Interrogatories requesting identification of those documents or communications.

                  4.   A response should be made individually to each Interrogatory.

                  5.    The full text of the Interrogatory to which the answer is intended to

    respond is to be restated immediately preceding such answer.

                  6.    Use of the singular tense shall be deemed to include the plural and vice

     versa, and use of the masculine pronoun shall be deemed to include both genders.

                  7.    "And" as well as "or" shall be construed either disjunctively or

     conjunctively as necessary to bring within the scope of these Interrogatories any

     information which might otherwise be construed to be outside their scope.




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                  8.      If any Interrogatory is not fully answered because of a claim of

    privilege, state the privilege asserted and the facts allegedly giving rise to the claim of

    privilege.

                  9.      If Defendant cannot answer any of these Interrogatories after

    conducting a reasonable investigation, Defendant should so state and answer to the extent

    it can, stating what information Defendant cannot provide and stating what efforts

    Defendant made to obtain the unknown information.

                                           DEFINITIONS


            The following definitions shall apply to these Requests for Information:

            A.         "Defendant," "you," or "your," shall mean the defendant entity(ies)

    named in the caption of this action, and its predecessors, successors, and assigns, and

    its/their parent organizations, subsidiaries, and affiliates, and its/their servants, agents,

    employees, representatives, divisions, managers, accountants, and attorneys, and anyone

    else acting on its/their behalf, as well as any individuals named as a defendant in the

    caption of this action.

            B.         "Communicate(d)" or "Communication" means any act or instance of

    transferring, transmitting, passing, delivering or giving information, in the form of facts,

     ideas, inquiries, or otherwise, by oral, written, electronic, or any other means.

            C.         "Concerning" means relating to, referring to, reflecting, describing,

     evidencing, or constituting.

             D.        "Document" shall include writings of .any type, all other data

     compilations from which information can be obtained, and any other means of preserving

     thoughts or expression, however produced or reproduced. Designated documents shall


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    mean originals in each instance (or copies thereof if originals are unavailable), regardless

    of origin or location, which are in the custody or control of the Defendant, or in the

    custody or control of Defendant's agents, representatives, employees, or counsel, and any

    copies or reproductions that differ in any respect from the original, such as copies

    containing marginal notations or other variations. Designated documents are to be taken

    as including all attachments, exhibits, enclosures, appendices, and other documents that

    relate to or refer to such designated documents. The enumeration of various specific

    items as included within the definition of the word "document" shall not be taken to limit

    the generality of this word, and the requests herein are directed and intended to obtain all

    "documents" in the broadest and most comprehensive sense and meaning of this word.

            E.     "Identify" shall mean:

                   a.      when referring to a natural person, to give:

                           i.      the person's name;

                           ii.     the present or last known home address;

                           iii.    the present or last known home telephone number;

                           iv.     the present or last known place of employment or job title;

                           V.      the present or last known business address; and

                           vi.     the present or last known business telephone number.

                    b.     when referring to any person other than a natural person, to give:

                           i.      the full name;

                           ii.     the present or last known address; and

                            iii.   the principal place of business of the corporation,
                                   partnership, proprietorship, association, or other
                                   organization being identified.

                    C.     when referring to documents, to give:


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                            i.           the type of document;

                            ii.          the general subject matter;

                             iii.        the date of the document; and

                             iv.         the author(s), addressee(s) and recipient(s).

            G.      "Person"        or     "persons"        shall mean individuals, corporations,

     proprietorships, partnerships, firms, associations, joint ventures, banks, any government

     or governmental bodies, commissions, boards or agencies, all other legal entities, and if

     appropriate or indicated, divisions, subsidiaries or departments of corporations, or other

     entities, and their principals, agents, representatives, officers, or employees.

             H.     "Named Plaintiff' shall mean Diane Vaccaro.

             I.      "Relevant Time Period" shall mean the period of time from May 11,

     2016 through the present.


             J.      "Security Screening(s)" shall mean. the procedures that Defendant

     required its employees to submit before they left Defendant's premises at the end of a

     shift or during a meal break in order to discover and/or deter employee theft of

     Defendant's property and to reduce inventory "shrinkage," including but not limited to

     passing through a metal detector or submitting to a search of his/her person.


             1.      "Facility(ies)"        shall mean the buildings at which Defendant

     employed/employs Named Plaintiff and other individuals whom Defendant paid/pays on

     an hourly basis and required/requires to submit to Security Screenings in New Jersey

     during the Relevant Time Period, including but not limited to the buildings located at 1)

     50 New Canton Way, Robbinsville, 2) 8003 Industrial Avenue, Carteret, 3) 275 Omar

     Avenue, Avenel, 4) 380 Middlesex Avenue, Carteret, and 5) 2170 NJ-27 Edison.


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                  "Associate(s)" shall mean all individuals who were/are employed by

    Defendant as employees at Defendant's, Facilities during the Relevant Time Period,

    whom Defendant paid on an hourly basis and required to submit to Security Screenings.




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                                    INTERROGATORIES

           1.     Identify each and every person who is/was responsible for
    enforcing/implementing Defendant's policies relating to work time-tracking, the
    determination of compensable hours, Security Screenings, and meal breaks at
    Defendant's Facilities that were/are in effect during the Relevant Time Period. For each
    person, identify (1) his or her job title; and (2) his or her role in enforcing or
    implementing such policies.




            2.      Identify each position in which Defendant has employed Associates at its
    Facilities during the Relevant Time Period and describe the duties of each position.




           3.      For each Associate and Named Plaintiff, identify:

                      (a) their employee ID number;

                      (b) their name;

                      (c) their last known address;

                      (d) the address of the Facility(ies) where they worked during the
                          Relevant Time Period;


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                       (e) their dates of employment;

                       (f) the job titles held by them during the Relevant Time Period;

                       (g) the dates of each workweek worked by them during the Relevant
                           Time Period;

                       (h) the times at which they clocked-in and clocked-out during each
                           workday during the Relevant Time Period;

                       (i) their compensation for each hour worked during the Relevant Time
                           Period.




             4.     For the past four years, identify the location and placement of any notices
     or posters advising Named Plaintiff and Associates of their rights under the New Jersey
     Wage and Hour Law ("NJWHL") or applicable state wage and hour laws, and the
     approximate dates such notices or posters have been in that location.
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           5.      For all of the positions identified in interrogatory No. 3, identify the
    employee's duties with respect to such positions beginning from the employee's arrival to
    Defendant's premises to the employee's departure from Defendant's premises until his or
    her departure from Defendant's premises.




            6.       Identify and describe each and every action that Defendant
    required/requires Named Plaintiff and Associates to complete after they clock out and
    before they leave Defendant's premises. This request seeks Defendant to identify every
    action that Named Plaintiff and Associates were/are required to complete — even if
    Defendant contends such actions are de minimus or non-compensable as a matter of law —
    after they clock out and before they leave Defendant's premises. By way of example, if
    Defendant required/requires Named Plaintiff and Associates to pass through a metal
    detector, submit to secondary security screening, such actions should be identified and
    described here. For each action, identify whether and how Defendant tracks the amount
    of time it takes to complete each action , or, if Defendant does not track such time,
    explicitly state same.




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            7.      For each Facility, identify the location of each time clock that were/are
    used by Associates to clock-out at the end of a shift or at the beginning of a meal break.
    For each time clock identified, identify the walking distance from the time clock to the
    nearest exit of Defendant's Facility that may be used by an Associate.




           8.      For each Facility, identify the locations at which Associates pass through
    Security Screenings . For each Security Screening area identified, identify the walking
    distance from the Security Screening location to the nearest exit of the Facility that may
    be used by an Associate.




           9.      Identify and describe any and all systems, methods, and/or procedures
    used by Defendant to track the hours worked by Named Plaintiff and Associates during
    the Relevant Time Period.




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           10:    Identify each and every policy, procedure, and/or practice that Defendant
    implemented, maintained, and/or enforced during the Relevant Time Period related to the
    Security Screenings.




            11.    Identify each and every item that Defendant prohibited/prohibits Named
    Plaintiff and Associates from having on their person while they worked/work, including
    but not limited to mobile phones. For each item, identify whether and where Defendant
    provided a place in which Named Plaintiff and Associates could/can store the item and
    under what circumstances they may access the item during a meal break.
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            12.     Identify each and every person who answered or assisted in answering
    these Interrogatories (excluding counsel).




            13.     Identify each and every document referenced in the answering of these
    Interrogatories.




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    DIANE VACCARO, et al
                                                   SUPERIOR COURT OF NEW JERSEY
                   Plaintiffs,                     MERCER COUNTY
           V.
                                                   CLASS ACTION
    AMAZON.COM.DEDC, LLC
                                                   No: MER-L-001037

                   Defendant.




     PLAINTIFF'S FIRST SET OF REQUESTS FOR PRODUCTION DIRECTED TO
                                DEFENDANT

           Named Plaintiff Diane Vaccaro (hereinafter "Named Plaintiff'), by and through

    undersigned counsel, hereby demands that Defendant Amazon.com.dedc, LLC

    (hereinafter "Defendant") respond to the following requests for production of documents

    within the time period prescribed by the rules of procedure applicable in this action.


                                                          Respectfully Submitted,


                                                         /s/ Matthew D. Miller
                                                          Matthew D. Miller, Esq.
                                                          SWARTZ SWIDLER, LLC
                                                          1 101 Kings Highway N., Suite 402
                                                          Cherry Hill, NJ 08034
                                                          Phone: (856) 685-7420
                                                          Fax: (856) 685-7417
     Date: June 12, 2018
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                                DEFINITIONS AND INSTRUCTIONS

           The following definitions and instructions are incorporated by reference whenever

    applicable in this document.

            1.     "Defendant," "you," or "your" shall mean the defendant entity(ies) named

    in the caption of this action, and its/their predecessors, successors, and assigns, and

    its/their parent organizations, subsidiaries, and affiliates, and its/their servants, agents,

    employees, representatives, divisions, managers, accountants, and attorneys, and anyone

    else acting on its/their behalf, as well as any individual named as a defendant in the

    caption of this action.

            2.     "Named Plaintiff' shall mean Diane Vaccaro.

            3.      "Relevant Time Period" shall mean the period of time from May 11, 2016

    through the present.

            4.      "Security Screening(s)" shall mean the procedures that Defendant

     required its employees to submit before they left Defendant's premises at the end of a

     shift or during a meal break in order to discover and/or deter employee theft of

     Defendant's property and to reduce inventory "shrinkage," including but not limited to

     passing through a metal detector or submitting to a search of his/her person.

            5.      "Facility(ies)" shall mean the buildings at which Defendant

     employed/employs Named Plaintiff and other individuals whom Defendant paid/pays on

     an hourly basis and required/requires to submit to Security Screenings in New Jersey

     during the Relevant Time Period, including but not limited to the buildings located at 1)

     50 New Canton Way, Robbinsville, 2) 8003 Industrial Avenue, Carteret, 3) 275 Omar

     Avenue, Avenel, 4) 380 Middlesex Avenue, Carteret, and 5) 2170 NJ-27 Edison.,



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           6.       "Associate(s)" shall mean all individuals who were/are employed by

    Defendant as employees at Defendant's, Facilities during the Relevant Time Period,

    whom Defendant paid on an hourly basis and required to submit to Security Screenings.

           7.      The term "person," or "persons," as used herein, shall include any natural

    person, partnership, firm, corporation, trust, association, joint venture, public entity,

    business organization, or other legal entity.

           8.      The term "document," or "documents," as used herein, shall mean the

    original; or a copy of any kind, of any written, typewritten, printed, or recorded material

    whatsoever, whether maintained on paper hard copies or on an electronic or other storage

    medium. The term includes, but is not limited to, files, records, reports, logs, notes,

    journals, memoranda, letters, facsimiles (including cover sheets and transmission

    confirmation sheets therefore), diaries, calendars, articles, telegrams, or other

    correspondence, voice mail (whether transcribed or not), electronic mail (whether printed

    out or not, and including electronic mail stored or maintained off Defendant's premises,

    such as with an internet service or e-mail provider), worksheets, recordings, studies,

    analyses, opinions, books, reports, transcriptions of recordings, lists, information

     retrievable from computers or media designed for use thereon, pictures, drawings,

     diagrams, schematics, maps, photographs (whether stored digitally or on hard copies) or

     other graphic representations, and any other physical means of communication, including

     audio or video tape recordings, Digital Audio Tape recordings, digital recordings,

     recordings preserved on recordable compact disc and magnetic tape, computer discs, or

     computer tape. The term specifically includes any drafts, whether or not used, of the

     foregoing, and any altered or annotated copies of the foregoing. It also includes any



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    copies of originals, or duplicate documents, with notes, markings, or interlineations

    varying to any degree whatsoever from other existing copies. Such documents are

    deemed to be separate documents and are to be produced along with non-interlineated

    copies. In the case of all recordings or information not stored in hard copy form, the

    originals shall be maintained for review in all cases.

            9.      The term "Complaint," as used herein, shall mean the Complaint for

    Damages on file in this action or any Amended Complaint.

            10.     The term "personnel file," as used herein, shall include any and all records

    maintained either in the normal course of business or for any special purpose with respect

    to the application, course of employment, and termination of any employee of any named

     Defendant, and specifically includes applications, disciplinary notices, performance

    evaluations, employment histories or summaries, records of residential addresses and

    telephone numbers, termination notices, job assignment or classification records,

     compensation, and other similar records. For purposes of this request, the term

    "personnel record" need not include designations of, or changes in, beneficiary;

     garnishments; income tax records; or insurance benefits, except as pertaining to the

     records of the Plaintiffs (in which case such records are to be included).

            11.     Please date-stamp all documents produced.

            12.      If any document is withheld under a claim of privilege or other protection,

     please produce a privilege log and provide all the following information with respect to

     any such document, so as to aid the Court and the parties hereto in determining the

     validity of the claim of privilege or other protection:

                     (a)    the identity of the person(s) who prepared the document and who
                            signed the document, and over whose name it was sent or issued;


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                   (b)      the identity of the person(s) to whom the document was directed;

                   (c)      the nature and substance of the document, with sufficient
                            particularity to enable the Court and the parties thereto to identify
                            the document;

                   (d)      the date of the document;

                    (e)     the identity of the person(s) who has (have) custody of, or control
                            over, the document and each copy thereof;

                    (f)   - the identity of each person to whom a copy of the document was
                             furnished;

                    (g)     the number of pages of the document;

                    (h)     the basis on which any privilege or other protection is claimed; and

                    (i)     whether any non-privileged or non-protected matter is included in
                            the document.

            13.     In the event any additional discoverable documents or other relevant

     materials come to Defendant's attention after the date on which it answers the instant

     request, Defendant is reminded of their duty to supplement its response to this request if

     it learns that in some material respect its response or the information disclosed therein is

     incomplete or incorrect and if the additional or corrective information has not otherwise

     been made known to Plaintiff during the discovery process or in writing.




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                           DOCUMENTS TO BE PRODUCED

            1.      Please produce any and all payroll documents that support, evidence,
    relate to, discuss, memorialize, or otherwise reflect upon the number of hours Named
    Plaintiff and Associates worked each week, the pay rate(s) received for each hour
    worked, any and all bonuses and other remuneration paid to Plaintiffs each week during
    the Relevant Time Period.

            2.      Please produce any and all payroll documents that support, evidence,
    relate to, discuss, memorialize, or otherwise reflect upon the exact number of hours and
    minutes Named Plaintiff and Associates were clocked in each day worked during the
    Relevant Time Period.

            3.      Please produce any and all payroll documents that support, evidence,
    relate to, discuss, memorialize, or otherwise reflect upon the number of hours Named
    Plaintiff and Associates worked each week, the pay rate(s) received for each hour
    worked, any other remuneration paid to such employees each week during the Relevant
    Time Period.



            4.       Please produce any and all documents (electronic, written, or otherwise),
    that support, evidence, relate to, discuss, memorialize, or otherwise reflect upon the
    method in which Defendant tracked Named Plaintiff's and Associates' hours, including
    but not limited to timesheets, clock-in and/or clock-out forms, audits or investigations
    (internal or by third parties) and/or computer log-in forms.

        . : 5..     Please produce all documents that relate or concern in any way, any of the
     claims or defenses in the instant action; including but not limited to the following:

                           a.     Written statements or affidavits of witnesses;

                           b.     Notes of interviews with witnesses;

                           C.     Tape recordings of any and all oral statements and/or
                                  interviews of witnesses;

                           d.     Transcriptions of any tape recordings of any and all oral
                                  statements and/or interviews of witnesses;

                           e.      Reports regarding the results of any and all investigations;

                           f.      Correspondence received from or sent to Named Plaintiff
                                   and/or Associates;

                           g.      Correspondence received from or sent to Defendant;



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                           h.      Correspondence received from or sent to any person other
                                   than Defendant's counsel;

                                   Surveillance of Named Plaintiff and/or Associates by any
                                   private investigator or other person;

                           j.      Background checks conducted as to Named Plaintiff and
                                   Associates by any private investigator or other person;

                           k.      Documents relating to or evidencing discussions between
                                   Plaintiff and Defendant;

                            I.     Documents relating to or evidencing discussions between
                                   Defendant and any person other than Defendant's counsel;

                           M.      Documents received from or sent to any person other than
                                   Defendant's counsel.

          6.     Please produce blueprints, maps, drawings, illustrations, and other
    documents, which illustrate the layout of each Facility.

           7.      Please produce any and all correspondence (including but not limited to e-
    mails, memoranda, letters, hand-written notes) sent to Named Plaintiff and/or Associates
    by Defendant (or by any employee or agent of Defendant), or sent to Defendant (or to
    any employee or agent of Defendant) by Named Plaintiff and/or Associates, either during
    the tenure of Named Plaintiffs and/or Associates' employment with Defendant or
    thereafter regarding Named Plaintiff's and/or Associates' hours worked or hours spent
    clocked in, pay practices or policies of Defendant (including policies relating to the
    clocking in and out and meal breaks), and/or policies and practices relating to Security
    Screenings

             8.      Any and all documents describing the work duties of Named Plaintiff and
     Associates, including descriptions of expected job duties, any and all training materials
     setting forth the job duties of all non-exempt, hourly positions, security requirements, and
     security policies.

             9.      Please produce any and all documents (electronic, written, or otherwise),
     that support, evidence, relate to, discuss, memorialize, or otherwise reflect any and all
     documents describing Defendant's policies and practices regarding Security Screenings
     at each of its Facilities.

             10.     Please produce any and all documents (electronic, written, or otherwise),
     that support, evidence, relate to, discuss, memorialize, or otherwise reflect Defendant's
     policies and practices related to meal breaks.

             11.    Any and all documents, including but not limited to security logs and
     surveillance footage, reflecting the times Named Plaintiff and Associates entered and
     exited Defendant's Facilties during the Relevant Time Period.

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            12.   Any and all documents that support, evidence, relate to, discuss,
    memorialize, or otherwise reflect Defendant's policies relating to the entering and exiting
    Defendant's Facilities by Named Plaintiff and Associates during the Relevant Time
    Period.

            13.    Any and all recorded materials, videos, or pictures, reflecting Named
    Plaintiff and/or Associates passing through Security Screenings, including time stamps
    during the Relevant Time Period.

            14.   As to any expert Defendant plans to utilize as a witness at time of trial,
    please produce a written report prepared and signed by the witness and containing:

                           a.      a complete statement of all opinions to be expressed;

                           b.      the bases and reasons for all such opinions;

                           C.      the data or other information considered by the witness;

                           d.      any exhibits to be used as a summary of or support for the
                                   opinions;

                           e.      the qualifications of the witness;

                           f.      a list of all publications authored by the witness within the
                                   preceding ten (10) years;

                           g.      the compensation to be paid for the. study and testimony;
                                   and

                           h.      a listing of any other cases in which the witness has
                                   testified as an expert at trial or by deposition within the
                                   preceding four (4) years.

           15.      Please produce any and all letters, memoranda, and other written
     communications between Defendant (or counsel for Defendant) and any expert witness
     who will be called at time of trial.

              16.    Please produce any and all drafts, notes, memoranda, calculations, studies,
     tests, and other work papers of whatever kind or description generated or utilized by any
     expert or witness who is expected to be called as a witness at time of trial.

             17.      A complete and current curriculum vitae for any expert witness Defendant
     plans to utilize at time of trial.

             18.      Please produce any and all documents concerning, or relating or referring
     to, any lawsuits or administrative actions that have been filed by anyone in the past two
     (2) years that allege that Defendant violated the New Jersey Wage and Hour Law or other
     applicable wage and hour laws due to its Security Screenings policies and/or practices.

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            19.      Please produce any and all documents concerning, or relating or referring
    to, any lawsuits or administrative actions that have been filed by anyone in the past two
    (2) years that allege that Defendant violated the New Jersey Wage and Hour Law or other
    applicable wage and hour laws due to its Security Screenings polices and/or practices.

           20.    Please produce any and all documents that were referenced in Defendant's
    answers to Named Plaintiff s interrogatories, or that were reviewed by Defendant in
    connection with Defendant answeringNamed Plaintiffls interrogatories.

           21.       Please produce any and all documents that support or otherwise relate to
    the denials set forth in Defendant's Answer in this action.

          22.     Please produce any and all documents that support or otherwise relate to
    Defendant's Affirmative Defenses in this action.

           23.    Please produce true and correct copies of each document or other tangible
    thing Defendant intends to introduce as an exhibit at time of trial.

            24.      Please produce any documents that Defendant believes may be relevant to
    the instant action but not covered by any of the previous requests.




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